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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref. Nos. 4814, 4816, 9427, 9432, 9463, 9468,
                                                             9473, 9475, 9497, 9504, 9517, 9539, 9540, 9543,
                                                             9545, 9550, 9555 & 16172

         FIFTH OMNIBUS ORDER APPROVING INTERIM FEE APPLICATIONS

         Upon consideration of the interim fee applications of the professionals retained by the

above captioned debtors and debtors-in-possession (collectively, the “Debtors”), the Official

Committee of Unsecured Creditors (the “Committee”), the Ad Hoc Committee of Non-US

Customers of FTX.com (the “Ad Hoc Committee”), and the fee examiner (the “Fee Examiner”)

in the above-captioned chapter 11 cases (collectively, the “Professionals”), 2 a list of which is
                                                                                           1F




attached hereto as Exhibit 1 (collectively, the “Fee Applications”), for allowance of

compensation and reimbursement of expenses for the period set forth on each of the Fee

Applications filed pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [D.I. 435] and the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834]; and upon the Fee Examiner’s Summary Report on

Fee Review Process and Fifth Interim Fee Applications [D.I. 16172]; and it appearing to the

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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Fee
    Applications.

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Court that all of the requirements, as applicable, of sections 327, 328, 330, 331 and 503(b) of

title 11 of the United States Code (as amended or modified, the “Bankruptcy Code”), as well as

rule 2016 of the Federal Rules of Bankruptcy Procedure and rule 2016-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, have been satisfied; and it further appearing that the expenses incurred were

reasonable and necessary; and that notices of the Fee Applications were appropriate; and after

due deliberation and sufficient good cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.     The Fee Applications are hereby APPROVED in the amounts set forth on

Exhibit 1 attached hereto.

                  2.     The Fee Applications are granted on an interim basis in the respective

amounts set forth as approved on Exhibit 1 hereto, including any and all holdbacks.

                  3.     The Debtors are authorized to remit payment to each of the Professionals

in the amounts set forth on Exhibit 1, less any monies previously paid on account of such fees

and expenses.

                  4.     All fees and expenses allowed herein shall be subject to final allowance by

the Court without regard to whether such amounts have been paid to the Professionals.

                  5.     This Order shall be deemed a separate order with respect to each of the

Fee Applications.       Any stay of this Order pending appeal with respect to any one of the

Professionals shall only apply to the particular Professional that is subject to such appeal and

shall not operate to stay the applicability and/or finality of this Order with respect to any other of

the Professionals.




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               6.      This Court shall retain jurisdiction to hear and determine any and all matters arising

from or related to the interpretation or implementation of this Order.




       Dated: June 17th, 2024                            JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE



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